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 3
     Attorney for Defendant
 4   OSCAR PADILLA
 5

 6

 7                          IN THE UNITED STATES DISTRICT COURT FOR THE
 8                                   EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                           )    Case No: 07-0248-17 WBS
                                                         )
11                  Plaintiff,                           )    REQUEST TO EXONERATE APPEARANCE
                                                         )    BOND
12          vs.                                          )
                                                         )    Date: N/A
13   OSCAR PADILLA,                                      )    Time: N/A
                                                         )    Courtroom: WILLIAM B. SHUBB
14                  Defendant.                           )
                                                         )
15                                                       )
                                                         )
16                                                       )
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18
            Defendant was released on a $200,000 appearance bond secured by the equity in two pieces of
19
     real property pending trial. One piece of property is located at 10440 Merritt Street, Castroville
20
     California 95012 and the other piece of property is located at 131 Walker Valley Road, Castroville
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     California 95012. Defendant has been sentenced and is currently in custody serving his sentence.
22
     Defendant now requests that the appearance bond be exonerated as to each piece of property.
23

24   Dated: June 13, 2012                                    ________/s/___________________
                                                             Patrick K. Hanly
25
            IT IS SO ORDERED.
26
            Dated: June 14, 2012
27

28


                                          REQUEST TO EXONERATE BOND
